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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

Gennene Graves,
individually and on behalf of others
similarly situated,

             Plaintiff,                     Civil Action No.

v.

Kellermeyer Bergensons Services, LLC,

             Defendant.

                 CLASS COMPLAINT AND JURY DEMAND

      Gennene Graves (“Plaintiff”), by and through her attorneys, on behalf of

herself and the class set forth below, brings the following Class Action Complaint

against Kellermeyer Bergensons Services, LLC (“KBS” or “Defendant”).

                                INTRODUCTION

      1.     This consumer class action is brought under the Fair Credit Reporting

Act (“FCRA”) against an employer who routinely violates the FCRA’s basic

protections by failing to provide the “stand-alone” disclosure required by the

FCRA. As Defendant’s practices were routine and systematic, Plaintiff asserts

claims for damages on behalf of a class of similarly situated job applicants and

employees.
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                                   THE PARTIES

      2.     Plaintiff Gennene Graves is an individual person and a resident of

Taylor, Michigan.

      3.     Defendant Kellermeyer Bergensons Services, LLC is a “leading

provider of contract cleaning and related facilities support services to retailers and

commercial facilities in North America.         “Vision & Values,” http://www.kbs-

clean.com/About-KBS.aspx (last visited December 31, 2014).              Defendant is

headquartered in Maumee, Ohio.

                          JURISDICTION AND VENUE

      4.     This Court has federal question jurisdiction over this action pursuant

to 28 U.S.C. § 1331.

      5.     Venue is proper in this District pursuant to 28 U.S.C. § 1391 because

Plaintiff resides in this District and a substantial part of the events or omissions

giving rise to this claim occurred in this District.

                          STATUTORY BACKGROUND

      6.     Enacted in 1970, the FCRA’s passage was driven in part by two

related concerns: first, that consumer reports were playing a central role in people’s

lives at crucial moments, such as when they applied for a job or credit, and when

they applied for housing. Second, despite their importance, consumer reports were

unregulated and had widespread errors and inaccuracies.
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      7.     While recognizing that consumer reports play an important role in the

economy, Congress wanted consumer reports to be “fair and equitable to the

consumer” and to ensure “the confidentiality, accuracy, relevancy, and proper

utilization” of consumer reports. 15 U.S.C. § 1681.

      8.     Congress was particularly concerned about the use of consumer

reports in the employment context, and therefore defined the term “consumer

reports” to explicitly include background reports procured for employment

purposes. See 15 U.S.C. § 1681a(d)(1)(B).

      9.     Through the FCRA, Congress required employers to make a clear and

conspicuous written disclosure to employees and job applicants, in a document that

consists solely of the disclosure, that a consumer report may be obtained for

employment purposes. 15 U.S.C. § 1681b(b)(2).

      10.    Specifically, Congress made it unlawful for an employer or

prospective employer to “procure, or cause a consumer report to be procured, for

employment purposes with respect to any consumer, unless …a clear and

conspicuous disclosure has been made in writing to the consumer at any time

before the report is procured or caused to be procured, in a document that consists

solely of the disclosure, that a consumer report may be obtained for employment

purposes.” 15 U.S.C. § 1681b(b)(2)(A)(i) (emphasis added). This requirement is

frequently referred to as the “stand-alone disclosure requirement.”
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      11.   Consumers cannot exercise their substantive rights to ensure that

reports about them are accurate and kept appropriately confidential unless they

know those reports exist.

      12.   The stand-alone disclosure requirement helps to empower consumers

to exercise their rights because it ensures that employees and job applicants know

when consumer reports about them are being generated.

      13.   Many other provisions of the FCRA are also notice provisions. See

15 U.S.C. § 1681b(b)(3)(A) (pre-adverse employment action notice requirement);

§ 1681b(4)(B) (notification of national security investigation); § 1681c(h)

(notification of address discrepancy); § 1681d(a) (disclosure of investigative

report); § 1681g (full file disclosure to consumers); § 1681k(a)(1) (disclosure

regarding the use of public record information); § 1681h (form and conditions of

disclosure); § 1681m(a) (notice of adverse action).

      14.   Like the other notice provisions in the FCRA, the stand-alone

disclosure provision puts consumers on notice that a report about them may be

prepared.   This knowledge enables consumers to exercise a variety of other

substantive rights conferred by the statute, many of which work to ensure

accuracy, confidentiality, and fairness. 15 U.S.C. § 1681c(a) (limiting temporal

scope of information that can be reported); § 1681e(b) (mandating that consumer

reporting agencies employ procedures to ensure “maximum possible accuracy” in
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reports); § 1681k (requiring consumer reporting agencies that report public record

information to employers to either provide notice to the consumer that information

is being reported or have “strict procedures” to ensure that information is

“complete and up to date”); § 1681i (requiring that consumer reporting agencies

investigate any disputed information); § 1681g (requiring that consumer reporting

agencies provide a complete copy of the consumer’s file to the consumer).

      15.   Without a clear notice that a consumer report is going to be procured

on them, applicants and employees are hindered in their ability to correct errors or

other problems with the reports.

      16.   As discussed below, Defendant routinely violated the FCRA, and

consumers’ rights, by failing to provide the required stand-alone disclosure to

employees and job applicants before procuring consumer reports on them.

                ALLEGATIONS RELATING TO PLAINTIFF

      17.   Near the end of 2012, Plaintiff applied to work as a janitor for

Defendant at an H&M department store in Dearborn, Michigan.

      18.   Plaintiff received an application packet from KBS. Included in the

application packet was a document entitled “Employment Screening Inquiry

Form.” (“Screening Form,” attached as Exhibit A.)

      19.   The Screening From contains a number of extraneous items that

violate the FCRA’s stand-alone disclosure requirement.
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      20.    First, the Screening Form contains a liability waiver that purports to

release KBS from liability. Specifically, the Screening Form states:

      I hereby generally release and fully discharge KBS, every such
      governmental agency and every such Prior Company from and
      against any and all liability with respect to, or arising from the release
      or dissemination of any such information for any such purpose.

      21.    The Screening Form also contains a purported waiver of notice from

the applicant, stating that the applicant “waive[s] any further notice with respect to

Employers [sic] inquiries, such governmental agencies, such Prior Company’s,

dissemination of any such report(s).”

      22.    The Screening Form further has another purported agreement that the

applicant’s “employment promotion or retention may be determined, in whole or in

part, based on report(s) so issued to KBS.”

      23.    The Screening Form was the only document Plaintiff ever received

from KBS that related to the fact that KBS was going to procure a consumer report

on her.

      24.    On or about January 9, 2013, KBS requested and procured a consumer

report entitled a “Consumer Investigation Report” on Plaintiff from consumer

reporting agency, Welliver & Associates (“Welliver”). (Exhibit B.)

      25.    In December 2014, Plaintiff requested her personnel file from

Defendant. In response, Defendant produced an incomplete copy of her personnel
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file that is missing several pages. Defendant’s response included a complete copy

of Plaintiff’s report from Welliver. (Exhibit C).

            ALLEGATIONS RELATING TO DEFENDANT’S PRACTICES

      26.    More than fifteen years ago, the Federal Trade Commission

emphasized that including extraneous information, especially a liability waiver, in

a disclosure form, as Defendant did here, is a violation of the FCRA. Letter from

William Haynes, Fed. Trade Comm’n, to Richard W. Hauxwell, CEO Accufax Div.

(June 12, 1998), available at 1998 WL 34323756 (explaining that “inclusion of

a . . . waiver in a disclosure form will violate Section [1681b(b)(2)(A)] of the

FRCA, which requires that a disclosure consist ‘solely of the disclosure that a

consumer report may be obtained for employment purposes’”).

      27.    Courts that have addressed liability waivers placed in disclosure forms

have agreed with the FTC that including such a waiver violates the FCRA’s stand-

alone disclosure requirement. Dunford v. American Databank, Inc., No. C 13-

03829, 2014 WL 3956774 at *6 (N.D. Cal. Aug. 12, 2014) (finding document that

contained a liability release to “not consist solely of the disclosure because it added

a paragraph exonerating [the defendant]”); Avila v. NOW Health Grp., Inc., No. 14

C 1551, 2014 WL 3537825 at *2 (N.D. Ill. July 17, 2014) (finding inclusion of

liability waivers to be “contrary to the express language of the FCRA, which

requires a disclosure ‘in a document that consists solely of the disclosure’”);
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Singleton v. Domino’s Pizza, No. 11-1823, 2012 WL 245965 at *9 (D. Md. Jan.

25, 2012) (“[B]oth the statutory text and FTC advisory opinions indicate that an

employer violates the FCRA by including a liability release in a disclosure

document.”); Reardon v. Closetmaid Corp., No. 2:-8-cv-01730, 2013 WL 6231606

at *10-11 (W.D. Pa. Dec. 2, 2013) (finding disclosure with liability waiver to be

“facially contrary to the statute at hand, and all of the administrative guidance”).

      28.    Before Welliver provided reports to Defendant, in accordance with

Welliver’s standard procedures, Welliver required Defendant to certify that it

would comply with the stand-alone disclosure provisions of the FCRA.

      29.    KBS certified to Welliver that it would comply with the stand-alone

disclosure provisions of the FCRA.

      30.    KBS’s inclusion of a provision in the Screening Form stating that the

applicant waives all rights to “further notice” demonstrates that KBS knew

additional notice might be required.

      31.    Rather than provide applicants with legally required further notice,

KBS chose instead to pretend that the applicants had waived their rights.

      32.    Defendant did not procure Plaintiff’s reports in connection with any

investigation of suspected misconduct relating to employment, or compliance with

federal, state, or local laws and regulations, the rules of a self-regulatory

organization, or any preexisting written policies of the employer.
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      33.      Upon request from Plaintiff, on approximately December 17, 2014

Welliver sent Plaintiff a complete copy of her consumer report procured by KBS.

(Exhibit B.)

      34.      By systematically inserting a liability release and other extraneous

information into Plaintiff’s and other class members’ disclosures, Defendant

willfully violated 15 U.S.C. § 1681b(b)(2)(A)(i).

                         CLASS ACTION ALLEGATIONS

      35.      Plaintiff asserts her claims on behalf of the class defined as follows:

      All individuals on whom KBS obtained a consumer report for
      employment purposes in the two years predating the filing of this
      Complaint and continuing through the date the class list is prepared.

      36.      Numerosity:    The class is so numerous that joinder of all class

members is impracticable. Defendant has hundreds of employees, many of whom

are members of the class.

      37.      Typicality: Plaintiff’s claims are typical of the class members’

claims. The FCRA violations committed by Defendant were committed pursuant

to uniform policies and procedures, and Defendant treated Plaintiff in the same

manner as other class members in accordance with its standard policies and

practices.

      38.      Adequacy: Plaintiff will fairly and adequately protect the interests of

the class, and has retained counsel experienced in complex class action litigation.
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      39.    Commonality: Common questions of law and fact exist as to all

members of the class and predominate over any questions solely affecting

individual members of the class.

      40.    Class certification is appropriate under Fed. R. Civ. P. 23(b)(3)

because questions of law and fact common to the class predominate over any

questions affecting only individual members of the class, and because a class

action is superior to other available methods for the fair and efficient adjudication

of this litigation. Defendant’s conduct described in this Complaint stems from

common and uniform policies and practices, resulting in common violations of the

FCRA. Members of the class do not have an interest in pursuing separate actions

against Defendant, as the amount of each class member’s individual claim is small

compared to the expense and burden of individual prosecution, and Plaintiff is

unaware of any similar claims brought against Defendant by any members of the

class on an individual basis. Class certification also will obviate the need for

unduly duplicative litigation that might result in inconsistent judgments concerning

Defendant’s practices. Moreover, management of this action as a class action will

not present any likely difficulties. In the interests of justice and judicial efficiency,

it would be desirable to concentrate the litigation of all class members’ claims in a

single forum.
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                              CLAIM FOR RELIEF

                    Failure to Provide Stand-Alone Disclosure

      41.    Defendant violated the FCRA by procuring consumer reports on

Plaintiff and class members without making the stand-alone disclosure required by

the FCRA. See 15 U.S.C. § 1681b(b)(2).

      42.    Defendant acted willfully and in knowing or reckless disregard of its

obligations and the rights of Plaintiff and the other class members. Defendant’s

willful conduct is reflected by, among other things, the fact that it violated a clear

statutory mandate set forth in 15 U.S.C. § 1681b(b)(2), and that Defendant

certified that it would comply with 15 U.S.C. § 1681b(b)(2). Further:

             (a)   The FCRA was enacted in 1970; Defendant has had over 40

                   years to become compliant;

             (b)   Defendant’s     conduct    is    inconsistent      with    the   FTC’s

                   longstanding regulatory guidance, judicial interpretation, and

                   the plain language of the statute;

             (c)   Defendant     knew    or   had     reason     to    know     from   its

                   communications with Welliver that Defendant’s conduct

                   violated the FCRA;

             (d)   Defendant certified to Welliver that it would comply with the

                   disclosure requirements of the FCRA but failed to do so;
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            (e)    Defendant repeatedly and routinely uses the same unlawful

                   documents it provided to Plaintiff with its applicants and

                   employees;

            (f)    Despite the pellucid statutory text and there being a depth of

                   guidance and Defendant’s own acknowledgment that further

                   notice could be required, Defendant systematically procured

                   consumer reports without first disclosing in writing to the

                   consumer in a document that consists solely of the disclosure,

                   that a consumer report may be obtained for employment

                   purposes; and

            (g)    By adopting such a policy, Defendant voluntarily ran a risk of

                   violating the law substantially greater than the risk associated

                   with a reading that was merely careless.

      43.   Plaintiff and the class are entitled to statutory damages of not less than

$100 and not more than $1,000 for each and every one of these violations, pursuant

to 15 U.S.C. § 1681n(a)(1)(A). Plaintiff and the class members are also entitled to

punitive damages for these violations, pursuant to 15 U.S.C. § 1681n(a)(2).

Plaintiff and the class members are further entitled to recover their costs and

attorneys’ fees, pursuant to 15 U.S.C. § 1681n(a)(3).
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                             PRAYER FOR RELIEF

      44.    WHEREFORE, Plaintiff, on behalf of herself and the class, prays for

relief as follows:

      a.     Determining that this action may proceed as a class action under Rule

             23(b)(3) of the Federal Rules of Civil Procedure;

      b.     Designating Plaintiff as Class Representative and designating

             Plaintiff’s counsel as counsel for the class;

      c.     Issuing proper notice to the class at Defendant’s expense;

      d.     Declaring that Defendant violated the FCRA;

      e.     Declaring that Defendant acted willfully, in knowing or reckless

             disregard of Plaintiff’s rights and its obligations under the FCRA;

      f.     Awarding statutory damages as provided by the FCRA;

      g.     Awarding punitive damages as provided by the FCRA;

      h.     Awarding reasonable attorneys’ fees and costs as provided by the

             FCRA;

      i.     Granting other and further relief, in law or equity, as this Court may

             deem appropriate and just.

                          DEMAND FOR JURY TRIAL

      45.    Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure,

Plaintiff and the class demand a trial by jury.
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Dated: January 7, 2014

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